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  Morrpress Trust
5760 Lindero Canyon Road
Westlake Village, CA 91362
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gabriela.arciniega@usdoj.gov,jonathan.wettstein@usdoj.gov, tarleen.khauv@usdoj.gov), Magistrate
Judge Karen L. Stevenson (crd_stevenson@cacd.uscourts.gov), Judge John A. Kronstadt
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  Case Name:             United States of America v. Real Property Located in Malibu, California

  Case Number:           2:21-cv-04569-JAK-KS
  Filer:                 Melvin Huges Louis

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983(e)filed by Clamaint Melvin Huges Louis.(yl)

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Daniel G. Boyle dboyle@bsfllp.com, caseview.ecf@usdoj.gov, gabriela.arciniega@usdoj.gov,
Jonathan.Wettstein@usdoj.gov, Tarleen.Khauv@usdoj.gov
2:21-cv-04569-JAK-KS Notice has been delivered by First Class U.S. Mail or by other means
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Westlake, CA 91361
Morrpress Trust
5760 Lindero Canyon Road
Westlake Village, CA 91362
